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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


 INDNIOR INC., INDIVIOR UK LIMITED,
 and MONOSOL RX, LLC,

                          Plaintiffs,
                                                     C.A. No. 15-1051-RGA
     v.

 SANDOZ INC.

                          Defendant.


              [~l ORDER OF DISMISSAL WITHOUT PREJUDICE

          WHEREAS, Defendant Sandoz Inc. is no longer pursuing certifications under 21 U.S.C.

 § 355G)(2)(A)(vii)(N) with respect to United States Patent Nos. 8,475,832; 8,017,150;

 8,603,51-4 for ANDA No. 205477;

          WHEREAS, as a result of the foregoing, the parties hereto agree that a case or

 controversy in this action no longer exists betWeen Plarntiffs and Sandoz;

          It is hereby ORDERED pursuant to Fed. R. Civ. P. 41(a)(2) and (c), that all claims,

 counterclaims and affirmative defenses between Plaintiffs and Sandoz are dismissed for lack of

 subject matter jurisdiction, and that each party is to bear its own costs, disbursements, and

 attorney fees.
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       SO ORDERED, this_&_ da


                           Hon. Richard G.     Clrews
                           U.S. District Judge




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